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                                                             8                            UNITED STATES DISTRICT COURT
                                                             9                                  Northern District of California
                                                             10   Free Speech Systems LLC,                          19-00711 WHO ENE
United States District Court




                                                             11                        Plaintiff(s),                Notice of Appointment of Evaluator
                           Northern District of California




                                                             12          v.
                                                             13   Menzel,
                                                             14                        Defendant(s).
                                                             15   TO COUNSEL OF RECORD:
                                                             16          The court notifies the parties and counsel that the Evaluator assigned to this
                                                             17   case is:
                                                             18                                   Michael A. Jacobs
                                                                                                  Morrison & Foerster LLP
                                                             19                                   425 Market Street
                                                                                                  San Francisco, CA 94104
                                                             20                                   415-268-7455
                                                                                                  MJacobs@mofo.com
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                                                                         Counsel shall familiarize themselves with the requirements of ADR L.R. 5 which
                                                             22
                                                                  governs the ENE program. The evaluator will schedule a joint phone conference with
                                                             23
                                                                  counsel under ADR L.R. 5-7 and will set the date of the ENE session within the
                                                             24
                                                                  deadlines set by ADR L.R. 5-4 or the court order referring this action to ENE.
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                                                                  Notice of Appointment of Evaluator
                                                                  19-00711 WHO
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                                                             1           Counsel are reminded that the written ENE statements required by ADR L.R. 5-8
                                                             2    shall NOT be filed with the court.
                                                             3
                                                             4    Dated: July 8, 2019
                                                             5                                                   SUSAN Y. SOONG
                                                                                                                 Clerk
                                                             6                                                   by:   Alice M. Fiel
                                                             7
                                                                                                                             /s/
                                                             8                                                   ADR Case Administrator
                                                                                                                 415-522-3148
                                                             9                                                   Alice_Fiel@cand.uscourts.gov
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United States District Court




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                           Northern District of California




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